                      Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 1 of 17
Debtor       National CineMedia, LLC                                                     Case number (if known)
           Name




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                    ☐Check if this is an
Case number (if known):                                         Chapter      11                                                         amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
      and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
      Individuals, is available.



1.   Debtor’s Name                     National CineMedia, LLC


                                       NCM
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)         XX-XXXXXXX                                                ________________________________________________


4. Debtor’s address                    Principal place of business                                     Mailing address, if different from principal place
                                                                                                       of business
                                       6300 South Syracuse Way, Suite 300
                                       Number                Street                                    Number         Street




                                       Centennial                            CO        80111
                                       City                                 State     Zip Code         City                         State     Zip Code

                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                       Arapahoe
                                       County                                                          Number         Street




                                                                                                       City                         State     Zip Code




5. Debtor’s website (URL)              https://www.ncm.com/ and https://www.noovie.com

6.   Type of debtor                       ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐Partnership (excluding LLP)

                                          ☐Other. Specify:




     Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 1
                        Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 2 of 17
Debtor        National CineMedia, LLC                                             Case number (if known)
            Name



                                           A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                           B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5121 (Motion Picture & Video Industries), 5418 (Advertising, Public Relations, & Related Services)

8. Under which chapter of the              Check One:
   Bankruptcy Code is the                  ☐ Chapter 7
   debtor filing?
                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:
A debtor who is a “small business
debtor” must check the first sub-                    ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
box. A debtor as defined in §                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
1182(1) who elects to proceed                          $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
under subchapter V of chapter 11                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
(whether or not the debtor is a “small                 exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
business debtor”) must check the
second sub-box.                                        ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                        proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ☐ A plan is being filed with this petition.

                                                      ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                        creditors, in accordance with 11 U.S.C. § 1126(b).
                                                      ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                      ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                            ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes    District                          When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a               District                          When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes                                                                Relationship   Equity owner of Parent
                                                  Debtor      Regal Cinemas, Inc.
    business partner or an                                    (See Attached Rider)
    affiliate of the debtor?                      District    Southern District of Texas
     List all cases. If more than 1,                                                                          When:           09/07/2022
     attach a separate list.                      Case number, if known __22-90197 (MI)______                                MM / DD / YYYY


     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
                         Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 3 of 17
    Debtor     National CineMedia, LLC                                                     Case number (if known)
              Name



    11. Why is the case filed in this        Check all that apply:
        district?
                                                  ☐ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                  ☒ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have            ☒ No
        possession of any real                 ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal
        property that needs                             Why does the property need immediate attention? (Check all that apply.)
        immediate attention?
                                                        ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                             safety.
                                                             What is the hazard?

                                                        ☐     It needs to be physically secured or protected from the weather.

                                                        ☐     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                              (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                              options).
                                                        ☐    Other


                                                        Where is the property?
                                                                                            Number          Street



                                                                                            City                                 State       Zip Code



                                                        Is the property insured?
                                                         ☐ No

                                                         ☐ Yes. Insurance agency

                                                                   Contact name
                                                                   Phone




                           Statistical and administrative information

    13. Debtor's estimation of              Check one:
        available funds
                                             ☒ Funds will be available for distribution to unsecured creditors. 1
                                             ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                        ☐1-49                            ☐1,000-5,000                           ☐25,001-50,000
        creditors                                  ☐50-99                           ☐5,001-10,000                          ☐50,001-100,000
                                                   ☐100-199                         ☐10,001-25,000                         ☐More than 100,000
                                                   ☒200-999



    15. Estimated assets                           ☐$0-$50,000                      ☐$1,000,001-$10 million                ☒$500,000,001-$1 billion
                                                   ☐$50,001-$100,000                ☐$10,000,001-$50 million               ☐$1,000,000,001-$10 billion
                                                   ☐$100,001-$500,000               ☐$50,000,001-$100 million              ☐$10,000,000,001-$50 billion
                                                   ☐$500,001-$1 million             ☐$100,000,001-$500 million             ☐More than $50 billion




1
       To the extent set forth in the Restructuring Support Agreement.

       Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 3
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Debtor     National CineMedia, LLC                                                   Case number (if known)
          Name




16. Estimated liabilities                   ☐$0-$50,000                      ☐$1,000,001-$10 million                   ☐$500,000,001-$1 billion
                                            ☐$50,001-$100,000                ☐$10,000,001-$50 million                  ☒$1,000,000,001-$10 billion
                                            ☐$100,001-$500,000               ☐$50,000,001-$100 million                 ☐$10,000,000,001-$50 billion
                                            ☐$500,001-$1 million             ☐$100,000,001-$500 million                ☐More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of     •       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of             petition.
    debtor
                                     •       I have been authorized to file this petition on behalf of the debtor.
                                     •       I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                     Executed on           04/11/2023
                                                            MM/ DD / YYYY


                                             /s/ Ronnie Ng                                                Ronnie Ng
                                             Signature of authorized representative of debtor              Printed name

                                             Title   Chief Financial Officer of National
                                                     CineMedia, Inc.




18. Signature of attorney                    /s/ John F. Higgins                                         Date         04/11/2023
                                             Signature of attorney for debtor                                         MM/DD/YYYY



                                             John F. Higgins

                                             Porter Hedges LLP
                                             Firm name
                                             1000 Main St., 36th Floor
                                             Number                   Street
                                             Houston                                                             TX                 77002
                                             City                                                                State                ZIP Code
                                             (713) 226-6648                                                      jhiggins@porterhedges.com
                                             Contact phone                                                            Email address
                                             09597500                                                TX
                                             Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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        Fill in this information to identify the case:

        United States Bankruptcy Court for the:
                             Southern District of Texas
                                            (State)                                                   ☐Check if this is an
        Case number (if                                                                                  amended filing
        known):                                          Chapter   11




                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

     On September 7, 2022, the entity listed below filed a petition in the United States Bankruptcy Court
for the Southern District of Texas for relief under chapter 11 of title 11 of the United States Code. Regal
Cinemas, Inc. (“Regal”) is NCM, LLC’s affiliate (as such term is defined in Section 101(2) of the
Bankruptcy Code) because Regal owns more than twenty percent of the outstanding voting securities of
National Cinemedia, Inc., which is Debtor NCM, LLC’s parent.1


                                      COMPANY                                  CASE NUMBER

                      Regal Cinemas, Inc.                               22-90197 (MI)




    1
           Regal owns such voting securities itself and indirectly through its indirect subsidiary Regal Cinemedia Holdings,
           LLC. On September 7, 2022, Regal Cinemedia Holdings, LLC filed a petition in the United States Bankruptcy
           Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States Code
           (Case No. 22-90201 (MI)).
            Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 6 of 17




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
                                         1
NATIONAL CINEMEDIA, LLC,                                     : Case No. 23-_______ (___)
                                                             :
                    Debtor.                                  :
                                                             :
------------------------------------------------------------ x

                               LIST OF EQUITY SECURITY HOLDERS2

         Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-
captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following
is the list of holders of the Debtor’s sole class of equity or membership interests:

          ☐ There are no equity security holders or corporations that directly or indirectly own 10%
          or more of any class of the Debtor’s equity interest.

          ☒ The following are the Debtor’s equity security holders (list holders of each class,
          showing the number and kind of interests registered in the name of each holder, and the
          last known address or place of business of each holder):
    Name and Last Known Address of Place of              Kind/Class of Interest        Percentage of Interests Held
              Business of Holder
    National Cinemedia, Inc.                          Membership Units                              98%

    NCMI II, LLC                                      Membership Units                              2%




1
      The Debtor’s address is 6300 South Syracuse Way, Suite 300, Centennial, Colorado 80111. The last four digits
      of the Debtor’s taxpayer identification number is 2505.

2
      This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
      Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Case.
           Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 7 of 17




                         IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION
------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
NATIONAL CINEMEDIA, LLC,1                                    : Case No. 23-_______ (___)
                                                             :
                    Debtor.                                  :
                                                             :
------------------------------------------------------------ x

                                CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity or membership interests:

                                                                  Approximate Percentage of Equity
                 Equity Interest Holder
                                                                          Interests Held

    National Cinemedia, Inc.                                                           98%




1
      The Debtor’s address is 6300 South Syracuse Way, Suite 300, Centennial, Colorado 80111. The last four digits
      of the Debtor’s taxpayer identification number is 2505.
                             Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 8 of 17

Debtor name National Cinemedia, LLC

UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS
Case No. (If known)
                                                                                                                                                     Check if this is an
Official Form 204                                                                                                                                    amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                     12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                claim is
mailing address, including zip               email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction for Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


1   Computershare Trust Co, NA               Computershare Trust Co, NA             Unsecured Notes                                                             $238,265,625.00
    as indenture trustee to the 5.75%        Email: David.Diaz@computershare.com;
    Senior Notes due 2026                    ARichmond@PRYORCASHMAN.com;
    462 S 4th St                             Casey.Boyle@wellsfargo.com;
    Mailbox 829, 16th Fl                     SLieberman@PRYORCASHMAN.com
    Louisville, KY 40202




2   Cinemark USA Inc                         Cinemark USA Inc                       Network Partner                                                               $4,785,148.65
    3900 Dallas Pkwy, Ste 500                Email: cbedard@cinemark.com
    Plano, TX 75093




3   Regal Cinemas, Inc                       Regal Cinemas, Inc                     Network Partner                                                               $4,089,007.40
    101 E Blount Ave                         Email: Mark.Barker@regalcinemas.com
    Knoxville, TN 37920




4   Red's Amusement, Inc                     Red's Amusement, Inc                   Network Partner                                                               $1,854,937.26
    Attn: General Counsel & CFO              Email: tylercooper@harkins.com
    8901 E McDonald Dr
    Scottsdale, AZ 85250



5   AMC                                      AMC                                    Network Partner                                                               $1,531,671.60
    920 Main St                              Email: GVermillion@amctheatres.com
    Kansas City, MO 64105




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 1
                             Case 23-90291 Document 1 Filed in TXSB on 04/11/23 Page 9 of 17


Debtor name National Cinemedia, LLC                                                                       Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                                  claim is
mailing address, including zip            email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction for Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


6   MJR Group LLC                         MJR Group LLC                            Network Partner                                                                 $665,825.94
    dba MJR Digital Cinemas, MJR          Email: jkincaid@mjrtheatres.com
    Theatres, or MJR
    Attn: Joel Kincaid
    41000 Woodward Ave, Ste 134 E
    Bloomfield Hills, MI 48304

7   Midas OpCo Holdings, LLC              Midas OpCo Holdings, LLC                 Vendor                                                                          $660,416.63
    155 Federal St, Ste 700               Email: llipinsky@thepeopleplatform.com
    Boston, MA 02110




8   Kerasotes Showplace Theaters, LLC     Kerasotes Showplace Theaters, LLC        Network Partner                                                                 $640,668.05
    641 W Lake St, Ste 300                Email: JNowicki@kerasotes.com;
    Chicago, IL 60661                     fred.meyers@kerasotes.com




9   Alliance Management Co, LLC           Alliance Management Co, LLC              Network Partner                                                                 $618,942.92
    Attn: Anne Ragains                    Email: scottb@patokacapital.com;
    825 Northgate Blvd, Ste 203           chancer@patokacapital.com
    New Albany, IN 47150




10 Vobile, Inc                            Vobile, Inc                              Vendor                                                                          $600,000.00
   2880 Lakeside Dr, Ste 360              Email: lynne.murphy@vobileinc.com
   Santa Clara, CA 95054




11 SCGM Inc                               SCGM Inc                                 Network Partner                                                                 $592,061.53
   Attn: James Ostrow                     Email: jostrow@culinarykhancepts.com
   4811 Hwy 6
   Missouri City, TX 77459



12 United Entertainment Corp              United Entertainment Corp                Network Partner                                                                 $587,633.79
   12900 - 63rd Ave N                     Email: miker@uecmovies.com;
   Maple Grove, MN 55369-6001             jshorba@uecmovies.com




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 2
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Debtor name National Cinemedia, LLC                                                                        Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                 claim is
mailing address, including zip              email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction for Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


13 Microsoft Corp                           Microsoft Corp                          Vendor                                                                          $565,946.32
   1 Microsoft Way                          Email: wwcsmsas@microsoft.com
   Redmond, WA 98052




14 Santikos Theatres, Inc                   Santikos Theatres, Inc                  Network Partner                                                                 $519,070.11
   18402 US Hwy 281 N, Ste 229              Email: prichard@Santikos.com;
   San Antonio, TX 78259                    rlehman@Santikos.com




15 Georgia Theatre Co                       Georgia Theatre Co                      Network Partner                                                                 $501,455.83
   50 Cinema Ln                             Email: MWarren@gtcmovies.com
   St Simons Island, GA 31522




16 Texas Cinema Corp                        Texas Cinema Corp                       Network Partner                                                                 $488,451.24
   1250 Wonder World Dr                     Email: mroberts@evo-entertainment.com
   San Marcos, TX 78666




17 Loeks Theatres Inc                       Loeks Theatres Inc                      Network Partner                                                                 $452,073.01
   2121 Celebration Dr NE                   Email: ekuiper@bystudioc.com;
   Grand Rapids, MI 49525                   jd@bystudioc.com




18 Picture Show Entertainment LLC           Picture Show Entertainment LLC          Network Partner                                                                 $426,793.55
   Attn: Jeff Stedman                       Email: jstedman@pictureshowent.com
   40 Broadmoor Ave
   Colorado Springs, CO 80906



19 Galaxy Theatres LLC                      Galaxy Theatres LLC                     Network Partner                                                                 $376,579.75
   15060 Ventura Blvd, Ste 350              Email: rcohen@galaxytheatres.com
   Sherman Oaks, CA 91403




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 3
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Debtor name National Cinemedia, LLC                                                                            Case No. (If known)

                                                                       (Continuation Sheet)

Name of creditor and complete                                                           Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                    claim is
mailing address, including zip               email address of creditor contact          claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                   (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                        trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                        loans,                               deduction for value of collateral or setoff to
                                                                                        professional                         calculate unsecured claim.
                                                                                        services, and
                                                                                        government
                                                                                                                            Total Claim, if   Deduction for Unsecured claim
                                                                                        contracts)
                                                                                                                            partially         value of
                                                                                                                            secured           collateral or
                                                                                                                                              setoff


20 Pecan Pie Productions LLC                 Pecan Pie Productions LLC                  Network Partner                                                                 $350,519.25
   Attn: Kevin LaKritz                       Email: kevin@pecanpieproductions.com
   3288 21st St, Ste 239
   San Francisco, CA 94110



21 Independent Theatre Booking Service,      Independent Theatre Booking Service, Inc   Network Partner                                                                 $349,792.48
   Inc                                       Email: bsitbs1@gmail.com
   11917 Sam Roper Dr, Ste 200
   Charlotte, NC 28269




22 Coinstar Asset Holdings, LLC              Coinstar Asset Holdings, LLC               Vendor                                                                          $349,417.17
   330 120th Ave NE                          Email: cliff.wohl@coinstar.com
   Bellevue, WA 98005




23 Cinergy Entertainment Group, Inc          Cinergy Entertainment Group, Inc           Network Partner                                                                 $314,263.19
   Aka Cinergy Cinmeas/Cinergy               Email: rschwarte@cinergy.com
   Cinemas & Entertainment
   5720 Lbj Fwy, Ste 625
   Dallas, TX 75240


24 Metropolitan Theatres Corp                Metropolitan Theatres Corp                 Network Partner                                                                 $306,680.16
   8727 W 3rd St                             Email: neig@metrotheatres.com;
   Los Angeles, CA 90048                     ddavison@metrotheatres.com




25 Goodrich Theater Opco LLC                 Goodrich Theater Opco LLC                  Network Partner                                                                 $303,105.05
   Attn: Jake McSparin                       Email: jakem@gqtmovies.com
   3930 Mezzanine Dr, Ste A
   Lafayette, IN 47905



26 Marquee Cinemas Inc                       Marquee Cinemas Inc                        Network Partner                                                                 $283,931.74
   552 Ragland Rd                            Email: jcox@marqueecinemas.com
   Beckley, WV 25801




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                   Page 4
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Debtor name National Cinemedia, LLC                                                                     Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                    Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                               claim is
mailing address, including zip             email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                            (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                 trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction for Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


27 VSS Southern Theaters, LLC              VSS Southern Theaters, LLC            Network Partner                                                                 $283,166.33
   Attn: Ron Krueger                       Email: ronk@southerntheatres.com
   935 Gravier St, Ste 1200
   New Orleans, LA 70112



28 Simplifi Holdings, Inc                  Simplifi Holdings, Inc                Vendor                                                                          $230,933.16
   Attn: Danielle Kinney                   Email: receivables@simpli.fi
   1407 Texas St
   Ft Worth, TX 76102




29 USA Cinema Investments Holding Inc      USA Cinema Investments Holding Inc    Network Partner                                                                 $223,941.63
   14951 Dallas Pkwy, Ste 300              Email: aholyoak@cinepolis.com;
   Dallas, TX 75254                        lolloqui@cinepolis.com




30 Marcus Theaters Corp                    Marcus Theaters Corp                  Network Partner                                                                 $208,499.01
   100 E Wisconsin Ave, Ste 2000           Email:
   Milwaukee, WI 53202                     clintwisialowski@marcustheatres.com




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                              Page 5
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    Fill in this information to identify the case and this filing:

   Debtor Name National CineMedia, LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule ____
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.
     Executed on
                                                                                  /s/ Ronnie Ng
                                       04/11/2023
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Ronnie Ng
                                                                                 Printed name
                                                                                 Chief Financial Officer of National CineMedia, Inc.

                                                                                 Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                  OFFICER’S CERTIFICATE

                                          April 10, 2023

                The undersigned, Maria Woods, Secretary of National CineMedia, Inc.
(the “Corporation”) hereby certifies, solely in her capacity as Secretary of the Corporation, and
not in her individual capacity, that attached hereto as Exhibit A are true, correct and complete copy
of the resolutions of the board of directors of the Corporation (the “Board”), adopted at a duly
authorized meeting of the Board held on April 10, 2023 and in accordance with the Corporation’s
bylaws.




                                                                      /s/ Maria Woods
                                                                     Maria Woods, Secretary



                                                              Acknowledged and Agreed to by

                                                                        /s/ Carol Flaton
                                                                     Carol Flaton, Independent
                                                                     Manager of National
                                                                     CineMedia, LLC
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                                     RESOLUTIONS OF THE
                                    BOARD OF DIRECTORS OF
                                   NATIONAL CINEMEDIA, INC.


Voluntary Petition Under the Provisions of Chapter 11 of the Bankruptcy Code

WHEREAS, National CineMedia, Inc., a Delaware corporation (the “Corporation”), is the sole manager
of National CineMedia, LLC, a Delaware limited liability company (the “Company”), and in its capacity
as Manager of the Company, the Board of the Corporation (the “Board”) hereby approves, pursuant to
the provisions of applicable law, the Company to take the following actions and adopts the following
resolutions:

WHEREAS, on or about March 5, 2023, this Board approved resolutions under which Carol Flaton was
appointed an independent manager to assist the Company in connection with the potential Bankruptcy
Case (the “Independent Manager”) and (a) delegated to the Independent Manager the full and exclusive
power and authority of the Corporation as manager of the Company to consider, negotiate, approve,
authorize and act upon (as set forth in the Delegation Resolutions) any matter that presents conflicts of
interest between the Company and related entities (the “Conflict Matters”) and (b) provided that the
Independent Manager would consult on a regular basis with the Capital Structure Review Committee
established by the Board;

WHEREAS, the Board has reviewed and discussed with the Independent Manager and the Company’s
Investment Banker, Lazard Frères & Co. (“Lazard”), the financial condition of the business on the date
hereof, including the current and historical performance of the Company, the assets and liquidity of the
Company, the current and long-term liabilities of the Company, and the credit market conditions;

WHEREAS, the Board received, reviewed, and discussed the recommendations of senior management
of the Corporation, the Independent Manager and the Corporation’s and Company’s legal, financial, and
other advisors as to the relative risks and benefits of the strategic alternatives available to the Company,
including effectuating a restructuring of the Company’s liabilities through a bankruptcy case (the
“Bankruptcy Case”) under the provisions of Chapter 11 of Title 11 of the United States Code, 11 U.S.C.
§§ 101 et seq. (the “Bankruptcy Code”);

WHEREAS, after review and discussion and due consideration of all of the information presented to the
Board, solely with respect to matters other than Conflict Matters (which matters require the separate input
and approval of the Independent Manager), the Board deems it advisable and in the best interests of the
Company, its creditors, stakeholders, and other interested parties, for the Company to commence the
Bankruptcy Case by filing a voluntary petition for relief under the provisions of the Bankruptcy Code (the
“Voluntary Petition”) in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”);

NOW, THEREFORE, BE IT:

RESOLVED, that the Voluntary Petition be filed by the Company in the Bankruptcy Court; and be it
further

RESOLVED, that the Independent Manager, Tom Lesinski, Ronnie Ng, and Maria Woods, and such
other person as the Corporation may designate (each, a “Designated Person” and collectively, the
“Designated Persons”) be, and each of them, acting alone, hereby is, authorized, directed and empowered,
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on behalf of and in the name of the Company to (a) execute and verify the Petition and such other
documents necessary to effectuate the commencement of the Bankruptcy Case and ensure a smooth
transition into Chapter 11, (b) take direction from the Independent Manager as to matters within her
mandate and (c) take direction from the Corporation, as manager of the Company, with respect to all other
matters related to the Bankruptcy Case.

Retention of Professionals

         RESOLVED, that the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”)
be, and hereby is, authorized, empowered and directed to represent the Company as its counsel in
connection with the Bankruptcy Case and to take any and all actions to advance the Company’s rights,
including the preparation of pleadings and filings in the Bankruptcy Case; and in connection therewith,
the Designated Persons be and each of them, acting alone or in any combination, hereby is, authorized,
directed and empowered, on behalf of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case,
and to cause to be filed an appropriate application for authority to retain the services of Paul Weiss; and
be it further

         RESOLVED, that the law firm of Porter Hedges LLP (“Porter Hedges”) be, and hereby is,
authorized, empowered and directed to represent the Company as its local counsel in connection with the
Bankruptcy Case and to take any and all actions to advance the Company’s rights, including the
preparation of pleadings and filings in the Bankruptcy Case; and in connection therewith, the Designated
Persons be and each of them, acting alone or in any combination, hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause
to be filed an appropriate application for authority to retain the services of Porter Hedges; and be it further

         RESOLVED, that the law firm of Latham & Watkins LLP (“L&W”) be, and hereby is,
authorized, empowered and directed to represent the Company as its special corporate and litigation
counsel in connection with the Bankruptcy Case and to take any and all actions to advance the Company’s
rights, including the preparation of pleadings and filings in the Bankruptcy Case (as well as the Chapter
11 cases of Regal Cinemas, Inc. and its affiliates pending in the Bankruptcy Court (Case No. 22-
90168(MI)) and in connection therewith, the Designated Persons be and each of them, acting alone or in
any combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate application for authority to
retain the services of L&W; and be it further

         RESOLVED, that Lazard be and hereby is engaged to provide investment banking and other
related services to the Company in the Bankruptcy Case; and in connection therewith, the Designated
Persons be and each of them, acting alone or in any combination, hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause
to be filed an appropriate application for authority to retain the services of Lazard; and be it further

        RESOLVED, that the firm of FTI Consulting, Inc. (“FTI”) be and hereby is engaged to provide
restructuring advice and other related services to the Company in the Bankruptcy Case; and in connection
therewith, the Designated Persons be and each of them, acting alone or in any combination, hereby is,
authorized, directed and empowered, on behalf of and in the name of the Company, to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy
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Case, and to cause to be filed an appropriate application for authority to retain the services of FTI; and be
it further

        RESOLVED, that the firm of Omni Agent Solutions (“Omni”) be and hereby is engaged to act
as notice, claims and balloting agent and to provide other related services to the Company in the
Bankruptcy Case; and in connection therewith, the Designated Persons be and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company, to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate application for authority to
retain the services of Omni; and be it further
        RESOLVED, that in addition to the existing signatories of the Company, any Designated Person,
acting alone or in any combination, be, and hereby is, authorized to cause the Company to employ other
special counsel, financial advisors, investment bankers, accountants, restructuring advisors and other
professionals as appropriate in connection with the Bankruptcy Case and all related matters; and be it
further
         RESOLVED, that the Designated Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company, to negotiate and approve the terms and form of any adequate protection to creditors and to
secure the consensual use of Cash Collateral, and to effectuate the forgoing by (i) paying or approving the
payment of all amounts payable in connection with any adequate protection arrangement, (ii) pledging or
granting liens and mortgages on, or security interest in, all or any portion of the Company’s assets,
including all or any portion of the issued and outstanding capital stock, partnership interests, or
membership interests of any subsidiaries of the Company, whether now owned or hereafter acquired, and
(iii) entering into or causing to be entered into such security agreements, pledge agreements, control
agreements, intercreditor agreements, mortgages, deeds of trust and other agreements as are necessary,
appropriate or desirable to effectuate the intent of, or matters reasonably contemplated or implied by, these
resolutions in such form, covering such collateral and having such other terms and conditions as are
approved or deemed necessary, appropriate or desirable by the Designated Person executing the same, the
execution thereof by such Designated Person to be conclusive evidence of such approval or determination;
and be it further
General Authority
RESOLVED, that in addition to the specific authorizations heretofore conferred upon the Designated
Persons, and in addition to the existing signatories of the Company, any of the Designated Persons, acting
alone or in any combination, be, and hereby is, authorized, directed and empowered, in the name and on
behalf of the Corporation, in its capacity as manager of the Company, to do or cause to be done all such
further acts and things, including causing the Company to pay of all fees, expenses, appropriate retainers
and other amounts payable by the Company with respect to the foregoing, and to execute and deliver all
such other instruments, certificates, agreements and documents as he or she may consider necessary or
appropriate to enable and cause the Company to carry out the intent and to accomplish the purposes of the
foregoing resolutions; and be it further

RESOLVED, that any and all prior lawful actions taken by the Designated Persons, either on behalf of
the Corporation or on behalf of the Company by the Corporation in its capacity as manager of the
Company, in connection with the Petition and related matters, and any and all related documents, which
would have been authorized by the foregoing resolutions except that such actions were taken prior to the
adoption of the foregoing resolutions are severally authorized, ratified, confirmed, approved and adopted.
